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                         Exhibit 6
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441 G St. N.W.
Washington, DC 20548




          Decision
          Matter of:   Office of Management and Budget—Withholding of Ukraine Security
                       Assistance

          File:        B-331564

          Date:        January 16, 2020

          DIGEST

          In the summer of 2019, the Office of Management and Budget (OMB) withheld from
          obligation funds appropriated to the Department of Defense (DOD) for security
          assistance to Ukraine. In order to withhold the funds, OMB issued a series of nine
          apportionment schedules with footnotes that made all unobligated balances
          unavailable for obligation.

          Faithful execution of the law does not permit the President to substitute his own
          policy priorities for those that Congress has enacted into law. OMB withheld funds
          for a policy reason, which is not permitted under the Impoundment Control Act (ICA).
          The withholding was not a programmatic delay. Therefore, we conclude that OMB
          violated the ICA.


          DECISION

          In the summer of 2019, OMB withheld from obligation approximately $214 million
          appropriated to DOD for security assistance to Ukraine. See Department of Defense
          Appropriations Act, 2019, Pub. L. No. 115-245, div. A, title IX, § 9013, 132 Stat.
          2981, 3044–45 (Sept. 28, 2018). OMB withheld amounts by issuing a series of nine
          apportionment schedules with footnotes that made all unobligated balances for the
          Ukraine Security Assistance Initiative (USAI) unavailable for obligation. See Letter
          from General Counsel, OMB, to General Counsel, GAO (Dec. 11, 2019) (OMB
          Response), at 1–2. Pursuant to our role under the ICA, we are issuing this decision.
          Congressional Budget and Impoundment Control Act of 1974, Pub. L. No. 93-344,
          title X, § 1015, 88 Stat. 297, 336 (July 12, 1974), codified at 2 U.S.C. § 686. As
          explained below, we conclude that OMB withheld the funds from obligation for an
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 unauthorized reason in violation of the ICA. 1 See 2 U.S.C. § 684. We also question
 actions regarding funds appropriated to the Department of State (State) for security
 assistance to Ukraine.

 OMB removed the footnote from the apportionment for the USAI funds on
 September 12, 2019. OMB Response, at 2. Prior to their expiration, Congress then
 rescinded and reappropriated the funds. Continuing Appropriations Act, 2020,
 Pub. L. No. 116-59, div. A, § 124(b), 133 Stat. 1093, 1098 (Sept. 27, 2019).

 In accordance with our regular practice, we contacted OMB, the Executive Office of
 the President, and DOD to seek factual information and their legal views on this
 matter. GAO, Procedures and Practices for Legal Decisions and Opinions,
 GAO-06-1064SP (Washington, D.C.: Sept. 2006), available at
 www.gao.gov/products/GAO-06-1064SP; Letter from General Counsel, GAO, to
 Acting Director and General Counsel, OMB (Nov. 25, 2019); Letter from General
 Counsel, GAO, to Acting Chief of Staff and Counsel to the President, Executive
 Office of the President (Nov. 25, 2019); Letter from General Counsel, GAO, to
 Secretary of Defense and General Counsel, DOD (Nov. 25, 2019).

 OMB provided a written response letter and certain apportionment schedules for
 security assistance funding for Ukraine. OMB Response (written letter); OMB
 Response, Attachment (apportionment schedule). The Executive Office of the
 President responded to our request by referring to the letter we had received from
 OMB and providing that the White House did not plan to send a separate response.
 Letter from Senior Associate Counsel to the President, Executive Office of the
 President, to General Counsel, GAO (Dec. 20, 2019). We have contacted DOD
 regarding its response several times. Letter from General Counsel, GAO, to
 Secretary of Defense and General Counsel, DOD (Dec. 10, 2019); Telephone
 Conversation with Deputy General Counsel for Legislation, DOD (Dec. 12, 2019);
 Telephone Conversation with Office of General Counsel Official, DOD (Dec. 19,
 2019). Thus far, DOD officials have not provided a response or a timeline for when
 we will receive one.




 1
  On October 30, 2019, Senator Chris Van Hollen asked the Comptroller General
 about this matter during a hearing before the Senate Committee on the Budget.
 Chief Financial Officers Act of 1990: Achieving the Vision: Hearing Before the
 Senate Committee on the Budget, 116th Cong. (2019), (statement of Sen. Van
 Hollen), available at https://www.budget.senate.gov/chief-financial-officers-act-of-
 1990-achieving-the-vision (last visited Jan. 13, 2020). We also received a letter from
 Senator Van Hollen regarding this matter. Letter from Senator Chris Van Hollen to
 Comptroller General (Dec. 23, 2019).



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 BACKGROUND

 For fiscal year 2019, Congress appropriated $250 million for the Ukraine Security
 Assistance Initiative (USAI). Pub. L. No. 115-245, § 9013, 132 Stat. at 3044–45.
 The funds were available “to provide assistance, including training; equipment; lethal
 assistance; logistics support, supplies and services; sustainment; and intelligence
 support to the military and national security forces of Ukraine.” Id. § 9013, 132 Stat.
 at 3044. The appropriation made the funds available for obligation through
 September 30, 2019. Id.

 DOD was required to notify Congress 15 days in advance of any obligation of the
 USAI funds. Id. § 9013, 132 Stat. at 3045. In order to obligate more than fifty
 percent of the amount appropriated, DOD was also required to certify to Congress
 that Ukraine had taken “substantial actions” on “defense institutional reforms.”
 John S. McCain National Defense Authorization Act for Fiscal Year 2019, Pub. L.
 No. 115-232, div., A, title XII, § 1246, 132 Stat. 1636, 2049 (Aug. 13, 2018)
 (amending National Defense Authorization Act for Fiscal Year 2016, Pub. L.
 No. 114-92, div. A, title XII, § 1250, 129 Stat. 726, 1068 (Nov. 25, 2015)). On
 May 23, 2019, DOD provided this certification to Congress. Letter from Under
 Secretary of Defense for Policy, to Chairman, Senate Committee on Foreign
 Relations (May 23, 2019) (DOD Certification) (noting that similar copies had been
 provided to the congressional defense committees and the House Committee on
 Foreign Affairs). In its certification, DOD included descriptions of its planned
 expenditures, totaling $125 million. Id.

 On July 25, 2019, OMB issued the first of nine apportionment schedules with
 footnotes withholding USAI funds from obligation. OMB Response, 1–2. This
 footnote read:

          “Amounts apportioned, but not yet obligated as of the date of this
          reapportionment, for the Ukraine Security Assistance Initiative
          (Initiative) are not available for obligation until August 5, 2019, to allow
          for an interagency process to determine the best use of such funds.
          Based on OMB’s communication with DOD on July 25, 2019, OMB
          understands from the Department that this brief pause in obligations
          will not preclude DOD’s timely execution of the final policy direction.
          DOD may continue its planning and casework for the Initiative during
          this period.”

 Id.; see id., Attachment. On both August 6 and 15, 2019, OMB approved additional
 apportionment actions to extend this “pause in obligations,” with footnotes that,
 except for the dates, were identical to the July 25, 2019 apportionment action. 2 Id.,

 2
  The initial apportionment footnote made USAI funds unavailable for obligation until
 August 5, 2019. OMB Response, Attachment. OMB did not sign the next
                                                                      (continued…)


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 at 2 n. 2. OMB approved additional apportionment actions on August 20, 27,
 and 31, 2019; and on September 5, 6, and 10, 2019. 3 Id. The footnotes from these
 additional apportionment actions were, except for the dates, otherwise identical to
 one another. Id., Attachment. They nevertheless differed from those of July 25 and
 August 6 and 15, 2019, in that they omitted the second sentence that appeared in
 the earlier apportionment actions regarding OMB’s understanding that the pause in
 obligation would not preclude timely obligation. Id. The apportionment schedule
 issued on August 20 read as follows:

          “Amounts apportioned, but not yet obligated as to the date of this
          reapportionment, for the Ukraine Security Assistance Initiative
          (Initiative) are not available for obligation until August 26, 2019, to
          allow for an interagency process to determine the best use of such
          funds. DOD may continue its planning and casework for the Initiative
          during this period.”

 Id., Attachment. The apportionment schedules issued on August 27 and 31, 2019;
 and on September 5, 6, and 10, 2019 were identical except for the dates. Id. On
 September 12, 2019, OMB issued an apportionment that removed the footnote that
 previously made the USAI funds unavailable for obligation. OMB Response, at 2;
 id., Attachment. According to OMB, approximately $214 million of the USAI
 appropriation was withheld as a result of these footnotes. OMB Response, at 2.
 OMB did not transmit a special message proposing to defer or rescind the funds.

 DISCUSSION

 At issue in this decision is whether OMB had authority to withhold the USAI funds
 from obligation.



 (...continued)

 apportionment until August 6, 2019. See id. On August 6, 2019, the amounts were
 made unavailable for obligation until August 12, 2019. Id. While the next footnote
 was issued on August 15, 2019 it stated that funds were unavailable for obligation
 “until August 12, 2019.” Id. Despite the dates listed in each apportionment footnote,
 OMB provided that the “pause in obligations was extended” on both August 6, 2019
 and August 15, 2019. See OMB Response, at 2, fn. 2 (emphasis added).
 3
   The apportionment footnote issued on August 20, 2019 made USAI funds
 unavailable for obligation until August 26, 2019. OMB Response, Attachment. OMB
 did not sign the next apportionment until August 27, 2019. See id. Despite the date
 listed in the apportionment footnote, OMB provided that the “pause in obligations
 was extended” on August 20, 2019. See OMB Response, at 2, fn. 2 (emphasis
 added).



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 The Constitution specifically vests Congress with the power of the purse, providing
 that “No Money shall be drawn from the Treasury, but in Consequence of
 Appropriations made by Law.” U.S. Const. art. I, § 9, cl. 7. The Constitution also
 vests all legislative powers in Congress and sets forth the procedures of
 bicameralism and presentment, through which the President may accept or veto a
 bill passed by both Houses of Congress, and Congress may subsequently override a
 presidential veto. Id., art. I, § 7, cl. 2, 3. The President is not vested with the power
 to ignore or amend any such duly enacted law. See Clinton v. City of New York,
 524 U.S. 417, 438 (1998) (the Constitution does not authorize the President “to
 enact, to amend, or to repeal statutes”). Instead, he must “faithfully execute” the law
 as Congress enacts it. U.S. Const., art. II, § 3.

 An appropriations act is a law like any other; therefore, unless Congress has
 enacted a law providing otherwise, the President must take care to ensure that
 appropriations are prudently obligated during their period of availability. See
 B-329092, Dec. 12, 2017 (the ICA operates on the premise that the President is
 required to obligate funds appropriated by Congress, unless otherwise authorized to
 withhold). In fact, Congress was concerned about the failure to prudently obligate
 according to its Congressional prerogatives when it enacted and later amended the
 ICA. See generally, H.R. Rep. No. 100-313, at 66–67 (1987); see also S. Rep. No.
 93-688, at 75 (1974) (explaining that the objective was to assure that “the practice of
 reserving funds does not become a vehicle for furthering Administration policies and
 priorities at the expense of those decided by Congress”).

 The Constitution grants the President no unilateral authority to withhold funds from
 obligation. See B-135564, July 26, 1973. Instead, Congress has vested the
 President with strictly circumscribed authority to impound, or withhold, budget
 authority only in limited circumstances as expressly provided in the ICA. See
 2 U.S.C. §§ 681–688. The ICA separates impoundments into two exclusive
 categories—deferrals and rescissions. The President may temporarily withhold
 funds from obligation—but not beyond the end of the fiscal year in which the
 President transmits the special message—by proposing a “deferral.” 4 2 U.S.C.
 § 684. The President may also seek the permanent cancellation of funds for fiscal
 policy or other reasons, including the termination of programs for which Congress
 has provided budget authority, by proposing a “rescission.” 5 2 U.S.C. § 683.

 In either case, the ICA requires that the President transmit a special message to
 Congress that includes the amount of budget authority proposed for deferral or
 4
  Budget authority proposed for deferral must be prudently obligated before the end
 of its period of availability. 2 U.S.C. § 684; B-329092, Dec. 12, 2017.
 5
   Budget authority proposed for rescission must be made available for obligation
 unless, within 45 calendar days of continuous congressional session, Congress has
 completed action on a rescission bill rescinding all or part of the amount proposed
 for rescission. 2 U.S.C. § 683.



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 rescission and the reason for the proposal. 2 U.S.C. §§ 683–684. These special
 messages must provide detailed and specific reasoning to justify the withholding, as
 set out in the ICA. See 2 U.S.C. §§ 683–684; B-237297.4, Feb. 20, 1990 (vague or
 general assertions are insufficient to justify the withholding of budget authority).
 The burden to justify a withholding of budget authority rests with the executive
 branch.

 There is no assertion or other indication here that OMB intended to propose a
 rescission. Not only did OMB not submit a special message with such a proposal,
 the footnotes in the apportionment schedules, by their very terms, established dates
 for the release of amounts withheld. The only other authority, then, for withholding
 amounts would have been a deferral.

 The ICA authorizes the deferral of budget authority in a limited range of
 circumstances: to provide for contingencies; to achieve savings made possible by or
 through changes in requirements or greater efficiency of operations; or as
 specifically provided by law. 2 U.S.C. § 684(b). No officer or employee of the
 United States may defer budget authority for any other purpose. Id.

 Here, OMB did not identify—in either the apportionment schedules themselves or in
 its response to us—any contingencies as recognized by the ICA, savings or
 efficiencies that would result from a withholding, or any law specifically authorizing
 the withholding. Instead, the footnote in the apportionment schedules described the
 withholding as necessary “to determine the best use of such funds.” See OMB
 Response, at 2; Attachment. In its response to us, OMB described the withholding
 as necessary to ensure that the funds were not spent “in a manner that could conflict
 with the President’s foreign policy.” OMB Response, at 9.

 The ICA does not permit deferrals for policy reasons. See B-237297.3, Mar. 6,
 1990; B-224882, Apr. 1, 1987. OMB’s justification for the withholding falls squarely
 within the scope of an impermissible policy deferral. Thus, the deferral of USAI
 funds was improper under the ICA.

 When Congress enacts appropriations, it has provided budget authority that
 agencies must obligate in a manner consistent with law. The Constitution vests
 lawmaking power with the Congress. U.S. Const., art. I, § 8, cl. 18. The President
 and officers in an Administration of course may consider their own policy objectives
 as they craft policy proposals for inclusion in the President’s budget submission.
 See B-319488, May 21, 2010, at 5 (“Planning activities are an essential element of
 the budget process.”). However, once enacted, the President must “take care that
 the laws be faithfully executed.” See U.S. Const., art. II, § 3. Enacted statutes, and
 not the President’s policy priorities, necessarily provide the animating framework for
 all actions agencies take to carry out government programs. Louisiana Public
 Service Commission v. FCC, 476 U.S. 355, 374 (1986) (“[A]n agency literally has no
 power to act . . . unless and until Congress confers power upon it.”); Michigan v.
 EPA, 268 F.3d 1075, 1081 (D.C. Cir. 2001) (a federal agency is “a creature of



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 statute” and “has no constitutional or common law existence or authority, but only
 those authorities conferred upon it by Congress”).

 Faithful execution of the law does not permit the President to substitute his own
 policy priorities for those that Congress has enacted into law. In fact, Congress was
 concerned about exactly these types of withholdings when it enacted and later
 amended the ICA. See H.R. Rep. No. 100-313, at 66–67 (1987); see also S. Rep.
 No. 93-688, at 75 (1974) (explaining that the objective was to assure that “the
 practice of reserving funds does not become a vehicle for furthering Administration
 policies and priorities at the expense of those decided by Congress”).

 OMB asserts that its actions are not subject to the ICA because they constitute a
 programmatic delay. OMB Response, at 7, 9. It argues that a “policy development
 process is a fundamental part of program implementation,” so its impoundment of
 funds for the sake of a policy process is programmatic. Id., at 7. OMB further
 argues that because reviews for compliance with statutory conditions and
 congressional mandates are considered programmatic, so too should be reviews
 undertaken to ensure compliance with presidential policy prerogatives. Id., at 9.

 OMB’s assertions have no basis in law. We recognize that, even where the
 President does not transmit a special message pursuant to the procedures
 established by the ICA, it is possible that a delay in obligation may not constitute a
 reportable impoundment. See B-329092, Dec. 12, 2017; B-222215, Mar. 28, 1986.
 However, programmatic delays occur when an agency is taking necessary steps to
 implement a program, but because of factors external to the program, funds
 temporarily go unobligated. B-329739, Dec. 19, 2018; B-291241, Oct. 8, 2002;
 B-241514.5, May 7, 1991. This presumes, of course, that the agency is making
 reasonable efforts to obligate. B-241514.5, May 7, 1991. Here, there was no
 external factor causing an unavoidable delay. Rather, OMB on its own volition
 explicitly barred DOD from obligating amounts.

 Furthermore, at the time OMB issued the first apportionment footnote withholding
 the USAI funds, DOD had already produced a plan for expending the funds. See
 DOD Certification, at 4–14. DOD had decided on the items it planned to purchase
 and had provided this information to Congress on May 23, 2019. Id. Program
 execution was therefore well underway when OMB issued the apportionment
 footnotes. As a result, we cannot accept OMB’s assertion that its actions are
 programmatic.

 The burden to justify a withholding of budget authority rests with the executive
 branch. Here, OMB has failed to meet this burden. We conclude that OMB violated
 the ICA when it withheld USAI funds for a policy reason.




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 Foreign Military Financing

 We also question actions regarding funds appropriated to State for security
 assistance to Ukraine. In a series of apportionments in August of 2019, OMB
 withheld from obligation some foreign military financing (FMF) funds for a period of
 six days. These actions may have delayed the obligation of $26.5 million in FMF
 funds. See OMB Response, at 3. An additional $141.5 million in FMF funds may
 have been withheld while a congressional notification was considered by OMB. See
 E-mail from GAO Liaison Director, State, to Staff Attorney, GAO, Subject: Response
 to GAO on Timeliness of Ukraine Military Assistance (Jan. 10, 2020) (State’s
 Additional Response). We have asked both State and OMB about the availability of
 these funds during the relevant period. Letter from General Counsel, GAO, to Acting
 Director and General Counsel, OMB (Nov. 25, 2019); Letter from General Counsel,
 GAO, to Secretary of State and Acting Legal Adviser, State (Nov. 25, 2019). State
 provided us with limited information. E-mail from Staff Attorney, GAO, to Office of
 General Counsel, State, Subject: RE: Response to GAO on Timeliness of Ukraine
 Military Assistance (Dec. 18, 2019) (GAO’s request for additional information);
 E-mail from GAO Liaison Director, State, to Assistant General Counsel for
 Appropriations Law, GAO, Subject: Response to GAO on Timeliness of Ukraine
 Military Assistance (Dec. 12, 2019) (State’s response to GAO’s November 25, 2019
 letter); State’s Additional Response. OMB’s response to us contained very little
 information regarding the FMF funds. See generally OMB Response, at 2–3.

 As a result, we will renew our request for specific information from State and OMB
 regarding the potential impoundment of FMF funds in order to determine whether the
 Administration’s actions amount to a withholding subject to the ICA, and if so,
 whether that withholding was proper. We will continue to pursue this matter.

 CONCLUSION

 OMB violated the ICA when it withheld DOD’s USAI funds from obligation for policy
 reasons. This impoundment of budget authority was not a programmatic delay.




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 OMB and State have failed, as of yet, to provide the information we need to fulfill our
 duties under the ICA regarding potential impoundments of FMF funds. We will
 continue to pursue this matter and will provide our decision to the Congress after we
 have received the necessary information.

 We consider a reluctance to provide a fulsome response to have constitutional
 significance. GAO’s role under the ICA—to provide information and legal analysis to
 Congress as it performs oversight of executive activity—is essential to ensuring
 respect for and allegiance to Congress’ constitutional power of the purse. All federal
 officials and employees take an oath to uphold and protect the Constitution and its
 core tenets, including the congressional power of the purse. We trust that State and
 OMB will provide the information needed.




 Thomas H. Armstrong
 General Counsel




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